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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

SOMASUNDARAN KUMARAN                        §
                                            §
V.                                          §      CIVIL ACTION NO. 1:18-CV-00324
                                            §
ALBERT SANDIFER AND                         §
BRYCE TRANSPORT, INC.                       §

                         DEFENDANTS’ NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        COME NOW, Charles Sandifer and Bryce Transport, Inc., the defendants in the

above-captioned cause, and file this notice of removal and respectfully show unto this

Honorable Court as follows:

                                I. STATE COURT ACTION

        This case was initially filed in the 172nd Judicial District Court of Jefferson

County, Texas. The state court action is styled: Cause no. E-0201883; Somasundaran

Kumaran v. Albert Sandifer and Bryce Transport, Inc.; in the 172nd Judicial District

Court of Jefferson County, Texas.

                                       II. PARTIES

        The plaintiff, Somasundaran Kumaran, is an individual citizen and resident of the

State of Texas.

        The defendant, Charles Sandifer, is an individual citizen and resident of the State

of Louisiana.

        The defendant, Bryce Transport, Inc., is a Louisiana corporation with its principal

place of business in the State of Louisiana.
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                                       III. JURISDICTION

      This Court has jurisdiction over the subject matter of this cause, pursuant to 28

U.S.C. § 1332, because this a civil action in which the matter in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs, and is between citizens of

different states. Accordingly, this cause is removable pursuant to 28 U.S.C. § 1441 and

§ 1446.

                                       IV. TIMELINESS

      The defendants, Bryce Transport, Inc. and Charles Sandifer, were first served

with process and the plaintiff’s original petition on June 14, 2018. Accoridngly, thirty

days have not elapsed since any defendant was served with process.             As such,

pursuant to 28 U.S.C. § 1446, this notice of removal is timely and proper.

                                   V. ATTACHMENTS

      Pursuant to 28 U.S.C. § 1446(a) and Local Rule CV-81, the following exhibits are

attached hereto and are incorporated herein by reference:

      a. Exhibit A: civil cover sheet;

      b. Exhibit B: certified copy of the state court docket sheet;

      c. Exhibit C: copy of all pleadings that assert causes of action and all answers to

          such pleadings;

      d. Exhibit D: list of parties;

      e. Exhibit E: list of attorneys;

      f. Exhibit F: record of which parties have requested a trial by jury;

      g. Exhibit G: court name and address from which case is being removed; and

      h. Exhibit H: statement regarding case status.



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                            VI. CONDITIONS PRECEDENT

      The defendants have tendered the filing fee required by the Clerk of the United

States District Court for the Eastern District of Texas, Beaumont Division, along with the

notice of removal. A copy of this notice of removal is also being filed in the 172nd

Judicial District Court of Jefferson County, Texas, and all counsel of record are being

provided with complete copies.

                                     VII. PRAYER

      WHEREFORE, PREMISES CONSIDERED, the defendants respectfully request

that the above action, Cause no. E-0201883; Somasundaran Kumaran v. Albert

Sandifer and Bryce Transport, Inc., in the 172nd Judicial District Court of Jefferson

County, Texas, be removed to this Court.

                                                Respectfully submitted,

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                                                Beaumont, TX 77704-1751
                                                (409) 838-6412
                                                (409) 838-6959 facsimile

                                                /s/ Greg C. Wilkins
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                                                ATTORNEYS FOR DEFENDANTS,
                                                CHARLES SANDIFER AND BRYCE
                                                TRANSPORT, INC.




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                             CERTIFICATE OF SERVICE

       I do hereby certify that on the 9th day of July, 2018, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system and also forwarded it to all
known counsel of record by Certified Mail, Return Receipt Requested.



                                               /s/ Greg C. Wilkins
                                               Greg C. Wilkins




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